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4
     Attorney for Defendant
5    BRIAN STONE

6
                          IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,              )   Case No.: 2:16 CR 038 MCE
10                                          )
                      Plaintiff,            )   STIPULATION AND ORDER CONTINUING
11                                          )   JUDGMENT AND SENTENCING
     vs.                                    )
12                                          )   Date: September 27, 2018
     BRIAN STONE,                           )   Judge: Hon. MORRISON C. ENGLAND, JR.
13                                          )   Time: 10:00 a.m.
                      Defendant.            )
14                                          )

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16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter is presently set for
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             September 6, 2018.     Counsel for the parties request the date for
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             judgment and sentencing be continued to September 27, 2018 at 10:00
20
             a.m.   Assistant U.S. Attorney Christopher S. Hales has been advised
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             of this request and has no objection.     U.S. Probation has also been
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             advised of this request.    The parties request the Court adopt the
23
             following schedule pertaining to the presentence report:
24
             Judgment and Sentencing date:                                  9/27/18
25
             Reply, or Statement of Non-Opposition:                         9/20/18
26
             Motion for Correction of the Presentence Report
27           Shall be filed with the Court and served on the
             Probation Officer and opposing counsel no later
28           than:                                                          9/13/18
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1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:               9/6/18

3              Counsel’s written objections to the Presentence
               Report shall be delivered to the probation officer
4              and opposing Counsel no later than:                         8/30/18

5              The Presentence Report shall be filed with the
               Court and disclosed to counsel no later than:               n/a
6

7

8    Dated:   August 9, 2018                      /S/ John R. Manning
                                                  JOHN R. MANNING
9                                                 Attorney for Defendant
                                                  Brian Stone
10

11   Dated:   August 9. 2018                      McGregor W. Scott
                                                  United States Attorney
12
                                                  by: /S/ Christopher S. Hales
13                                                CHRISTOPHER S. HALES
                                                  Assistant United States Attorney
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16                                        ORDER

17        IT IS SO ORDERED.

18   Dated:    August 13, 2018

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